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The

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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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06-11-00059-CV

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RE:&nbsp; RICHARD M. KING, JR.

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Mandamus Proceeding

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Morriss, C.J., Carter and Moseley, JJ.

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Opinion by Chief Justice Morriss

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OPINION

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Complaining of a number of things,
Richard M. King, Jr., seeks mandamus relief against Judge Scott McDowell, of
the 62nd Judicial District Court.&nbsp; King,
previously determined to be a “vexatious litigant,” was barred by the then
Judge Jim Lovett of the 6th Judicial District Court from “filing anything under
any law, statute, rule or authority . . ., without first obtaining the
permission of the presiding judge of the 6th District Court.”&nbsp; A suit filed by King “against Marvin Ann
Patterson and her deputy clerks for withholding . . . evidence . . . that would
result in the reversal of King’s wrongful conviction,” was dismissed by Judge
McDowell.&nbsp; King claims that he “filed an
application for writ of habeas corpus . . . in the 6th Judicial District Court
in Lamar County, Texas,” complaining of Patterson’s alleged admission to
possessing “the evidence in question,” and received a response from Judge
McDowell “stating that one ground has ‘been litigated’ and making no mention of
the other ground.”&nbsp; King, believing that
Judge McDowell relied on the order issued by Judge Lovett, claimed that the
court did not file or consider the application for writ of habeas corpus.&nbsp; He asks this Court to order Judge McDowell to
“present the Application for Writ of Habeas Corpus in it’s [sic] unedited form
to the 6th District Court.” 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; To be entitled to mandamus relief,
King must show that he has no adequate remedy at law to redress the alleged
harm and that he seeks to compel an act that is ministerial, not discretionary
or involving a judicial decision.&nbsp; State v. Walker, 679 S.W.2d 484, 485
(Tex. 1984).&nbsp; An act is ministerial if it
constitutes a duty clearly fixed and required by law.&nbsp; In re
Birdwell, 224 S.W.3d 864, 865 (Tex. App.—Waco 2007, orig. proceeding).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Due to the nature of this remedy, it
is King’s burden to properly request and show entitlement to the mandamus
relief.&nbsp; Tex. R. App. P. 52.7; Barnes
v. State, 832 S.W.2d 424, 426 (Tex. App.—Houston [1st Dist.] 1992, orig.
proceeding) (“Even a pro se applicant for a writ of mandamus must show himself
entitled to the extraordinary relief he seeks.”).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; King had the obligation to provide
us with evidence in support of his claim that he is entitled to mandamus
relief.&nbsp; No portion of any clerk’s record
or reporter’s record has been filed with this Court.&nbsp; The absence of a mandamus record prevents us
from evaluating the circumstances of this case and, thus, the merits of King’s
complaints.&nbsp; See Tex. R. App. P.
52.7; Barnes, 832 S.W.2d at 426.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We deny the petition for writ of
mandamus. 

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R. Morriss, III

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Justice

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Date
Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; June 9, 2011&nbsp;&nbsp;&nbsp; 

Date
Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; June 10, 2011

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